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   9   BLUMHOUSE PRODUCTIONS, LLC,
  10   OVERLORD PRODUCTIONS, LLC,
       PLATINUM DUNES PRODUCTIONS,
  11   WHY NOT PRODUCTIONS, INC., and
       JAMES DEMONACO
  12                         UNITED STATES DISTRICT COURT
  13                                   CENTRAL DISTRICT OF CALIFORNIA
  14 DOUGLAS JORDAN-BENEL, an              )          Case No. 14-cv-05577-MWF-MRW
     individual,                           )
  15                                       )          Assigned to Hon. Michael W. Fitzgerald
                   Plaintiff,              )
  16                                       )          NOTICE OF ERRATA RE:
              vs.                          )          IDENTIFICATION OF PARTIES
  17                                       )          FILING NOTICE OF APPEAL
  18   UNIVERSAL CITY STUDIOS LLC, a )
       Delaware corporation; UNITED        )
  19   TALENT AGENCY, INC., a California )
       corporation; BLUMHOUSE              )
       PRODUCTIONS, LLC, a Delaware        )
  20                                       )
       Limited Liability Company; OVERLORD )
  21   PRODUCTIONS LLC, a California       )
       Limited Liability Company; PLATINUM )
  22   DUNES PRODUCTIONS, a California )
       Corporation, WHY NOT                )
  23   PRODUCTIONS, INC. d/b/a WHY NOT )
  24
       FILMS, a Nevada Corporation; JAMES )
       DEMONACO, an individual; and DOES )
       1 to 50, inclusive,                 )
  25                                       )
                            Defendants.    )
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       NOTICE OF ERRATA                                                  LOS ANGELES, CALIFORNIA 90017-2566
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   1           PLEASE TAKE NOTICE that as a result of an error in the electronic filing
   2   system, the Notice Of Appeal filed on July 6, 2015, by defendants Universal City
   3   Studios LLC, Blumhouse Productions, LLC, Overlord Productions, LLC, Platinum
   4   Dunes Productions, Why Not Productions, Inc., and James DeMonaco (collectively,
   5   the “Film Defendants”), Dkt. No. 63, was incorrectly listed on PACER as including
   6   defendant United Talent Agency, Inc.
   7           The Film Defendants respectfully request that the docket be corrected to
   8   reflect that their Notice of Appeal was filed on behalf of themselves (defendants
   9   Universal City Studios LLC, Blumhouse Productions, LLC, Overlord Productions,
  10   LLC, Platinum Dunes Productions, Why Not Productions, Inc., and James
  11   DeMonaco) only, and does not include United Talent Agency, Inc., which is
  12   separately represented.
  13   DATED: July 7, 2015                      DAVIS WRIGHT TREMAINE LLP
  14                                            KELLI L. SAGER
                                                KAREN A. HENRY
  15                                            COLLIN J. PENG-SUE
  16

  17                                            By: /s/ Kelli L. Sager
  18                                                            Kelli L. Sager
  19                                               Attorneys for Defendants
                                                   UNIVERSAL CITY STUDIOS LLC,
  20                                               BLUMHOUSE PRODUCTIONS, LLC,
  21                                               OVERLORD PRODUCTIONS, LLC,
                                                   PLATINUM DUNES PRODUCTIONS,
  22                                               WHY NOT PRODUCTIONS, INC., and
  23                                               JAMES DEMONACO

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